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14                                 UNITED STATES DISTRICT COURT
15                           NORTHERN DISTRICT OF CALIFORNIA
16                                    SAN FRANCISCO DIVISION
17   BONNIE EDEN, DANIEL PINHO,                      Case No. 4:23-cv-05200-HSG
     THOMAS SEAWRIGHT and PAMELA
18
     ZAGER-MAYA, on behalf of themselves             ADMINISTRATIVE MOTION TO
19   and all others similarly situated,              CONSIDER WHETHER CASES SHOULD
                                                     BE RELATED PURSUANT TO CIVIL L.R.
20                   Plaintiffs,                     3-12 AND 7-11
21   vs.
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     23ANDME, INC.,
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                     Defendant.
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                                                         ADMINISTRATIVE MOTION TO RELATE CASES
                                                                    CASE NO. 4:23-CV-05200-HSG
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 1             Pursuant to Rule 3-12 and Rule 7-11 of the Civil Local Rules, Bonnie Eden, Daniel
 2   Pinho, Thomas Seawright and Pamela Zager-Maya (“Plaintiffs”) move the Court to consider
 3   whether cases should be related, as follows:
 4   I.        THE TITLE AND CASE NUMBER OF EACH APPARENTLY RELATED CASE
 5             Plaintiffs are the named Plaintiffs in the class action complaint entitled Eden, et al. v.
 6   23andMe, Inc, Case No. 4:23-cv-05200-HSG (“Eden Action”) which was filed on October 11,
 7   2023. The Eden Action is currently assigned to the Honorable Haywood S. Gilliam, Jr.
 8             Defendant is a genomics and biotechnology company based in South San Francisco,
 9   California that provides a direct-to-consumer genetic testing service in which customers provide
10   a saliva sample that is laboratory analyzed, using single nucleotide polymorphism genotyping, to
11   generate reports relating to the customer's ancestry and genetic predispositions to health-related
12   topics.
13             Plaintiffs’ Complaint alleges that on or about October 6, 2023, Defendant announced on
14   its website that customer profile information was compiled from individual 23andMe.com
15   accounts without account users’ authorization that contained both the personally identifiable
16   information and protected health information of its customers. Plaintiffs’ Complaint further
17   alleges that Defendant announced that the exposed private information might include names,
18   sex, date of birth, genetic ancestry results, profile photos and geographical information. Also on
19   October 6, 2023, it was reported that the sensitive information of nearly seven million of
20   Defendant’s users was offered for sale on the dark web, including that of approximately 1.3 million
21   users who are of Ashkenazi Jewish and Chinese descent.1
22             Plaintiffs’ Complaint alleges various causes of action against Defendant for harm caused
23   by Defendant’s alleged failure to keep their and other putative class members’ private sensitive
24   information confidential.
25             On October 9, 2023, Santana, et al. v. 23andMe, Inc. Case No. 3:23-cv-05147-EMC,
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     ECF No. 1 (N.D. Cal), was filed in the Northern District of California, arising out of this same
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     set of factual issues. Following the filing of Santana, fourteen cases, including Eden were filed
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     1
          https://therecord.media/scraping-incident-genetic-testing-site
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                                                    ADMINISTRATIVE MOTION TO RELATE CASES
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 1   in the United States District Court for the Northern District of California. A complete list of the
 2   known likely related cases is set forth below:
 3          Andrizzi v. 23andMe, Inc. (Case No. 5:23-cv-05198)
 4          J.S. et al v. 23andMe, Inc., et al. (Case No. 5:23-cv-05234)
 5          Mirza v. 23andMe, Inc. (Case No. 3:23-cv-05259)
 6          Navarro v. 23andMe, Inc.(Case No. 4:23-cv-05281)
 7          Greenberg v. 23andMe, Inc. (Case No. 5:23-cv-05302)
 8          Friend v. 23andMe, Inc. (Case No. 4:23-cv-05323)
 9          Hoffman et al v. 23andMe, Inc. (Case No. 3:23-cv-05332)
10          Farmer v. 23andMe, Inc. (Case No. 5:23-cv-0534)
11          Berman et al v. 23andMe, Inc. (Case No. 4:23-cv-05345)
12          Tulchinsky v. 23andMe, Inc. (Case No. 5:23-cv-05369)
13          Seikel v. 23andMe, Inc. (Case No. 5:23-cv-05419)
14          Velez v. 23andMe, Inc. (Case No. 3:23-cv-05464)
15          The Eden Plaintiffs move the Court to consider whether the Eden Action should be
16   related to Santana, et al. v. 23andMe, Inc. Case No. 3:23-cv-05147-EMC (N.D. Cal) (the
17   “Santana Action”), the first-filed action. It is expected that the additional thirteen cases should
18   be and ultimately will be related to the Santana action as well.
19   II.    BRIEF STATEMENT OF THE RELATIONSHIP OF THE ACTIONS
20          Civil Local Rule 3-12(a) provides for actions to be related when: “(1) [t]he actions
21   concern substantially the same parties, property, transaction or event; and (2) [i]t appears likely
22   that there will be an unduly burdensome duplication of labor and expense or conflicting results
23   if the cases are conducted before different [j]udges.” The Eden Action should be related to the
24   Santana action because it: (a) asserts the same claims against the same Defendant; (b) arises
25   from the same underlying event, i.e., customer profile information was accessed from individual
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     23andMe.com accounts without account users’ authorization, which accounts contained both the
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     personally identifiable information (“PII”) and protected health information (“PHI”) of
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     Defendant’s customers; and (c) if the Actions proceed independently of each other it will result

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 1   in duplicative motions and discovery because the complaints raise the same questions of fact and
 2   law. The relation of the other thirteen cases would similarly meet the criteria set forth in Civil
 3   Local Rule 3-12(a).
 4           All of the cases identified as likely related, including Santana and Eden, are in the
 5   earliest stages as having just recently been filed. Generally, the Santana and Eden Actions (and
 6   the additional thirteen matters identified) assert the same or substantially identical factual
 7   allegations against the same Defendant (with one case including an additional defendant), assert
 8   the same or similar causes of action and seek largely overlapping relief including damages,
 9   injunctive and equitable relief, interest, and attorneys’ fees and costs. In particular, Santana and
10   Eden, and the other thirteen actions allege that the Defendant was duty bound to preserve the
11   confidentiality of the Plaintiffs’ personal and health related information in its possession, and
12   that it failed to meet its obligations to keep the information secure from unauthorized access. As
13   a result, the Plaintiffs in both actions allege that they, and all those similarly situated suffered
14   injury. Defendant has not appeared in any of the cases as of this date.
15           Thus, the criteria of Civil L.R. 3-12(a) are satisfied such that consolidation before a
16   single judge will conserve the parties’ resources and judicial resources and will avoid “unduly
17   burdensome duplication of labor and expense or conflicting results.” CIV. L.R. 3-12(a)(2).
18   III.    CONCLUSION
19           In light of the nearly identical facts and claims presented in the Action, the Eden Action
20   should be related and assigned to the Honorable Edward M. Chen of this Court, where the first-
21   filed Santana Action is pending, and where it is expected the additional related matters also will
22   be assigned.
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                                                          CASE NO. 4:23-CV-05200-HSG
